Case 8:20-cv-00052-MSS-CPT Document 3 Filed 01/10/20 Page 1 of 6 PagelD 76

 

 

 

 

 

AO 440 (Rev. 06/12) Summons in a Civil Action Co
UNITED STATES DISTRICT COURT
for the
Middle District of Florida
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Dian. Alebord
Plaintiff(s) )
QD Vv. Civil Action No. 8:20-cv-00052-T-35CPT
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v ' Defendant(s) ) zo
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A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: (
Diana Aleoavd

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Sowvas sks, FL. B42 |

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.
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Date: Jan 09, 2020
Case 8:20-cv-00052-MSS-CPT Document 3 Filed 01/10/20 Page 2 of 6 PagelD 77

AO 440 (Rev, 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 8:20-cv-00052-T-35CPT

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ. P. 4 ())

This summons for (name of individual and title, ifany)

 

was received by me on (date)

© I personally served the summons on the individual at (piace)

 

on (date) > Or

 

OC [ left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

OC I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

on (date) > or
© I returned the summons unexecuted because * ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00 .

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc;
Case 8:20-cv-00052-MSS-CPT Document 3 Filed 01/10/20 Page 3 of 6 PagelD 78

 

 

AO 440 (Rev. O6/12) Summons in a Civil Action
UNITED STATES DISTRICT COURT

 

 

for the
Middle District of Florida
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Plaintif{(s) )
v. Civil Action No. 8:20-cv-00052-T-35CPT
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whose name and address are:
Diana Alevowd .
on 63 Axyoucaate Lane Umit SOY
Sores 2. YDS |

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.

You also must file your answer or motion with the court.

   

    

 

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Date: Jan 09, 2020 A Mais aint f 7}
"Signature LE rkor Deputy Clerk
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Case 8:20-cv-00052-MSS-CPT Document 3 Filed 01/10/20 Page 4 of 6 PagelD 79

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
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Civil Action No. 8:20-cv-00052-T-35CPT

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Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
Case 8:20-cv-00052-MSS-CPT Document 3 Filed 01/10/20 Page 5 of 6 PagelD 80

AO 440 (Rev. 06/12) Summons in a Civil Action

 

 

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Plaintiff(s)

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Defendant(s)

Civil Action No. 8:20-cv-00052-T-35CPT

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whose name and address are: CV) Ip y 0 By) loon eh (Ex-Pastal-Clok
U1 64 Novhaete Lane Ori} OO
Sana ore, FUGYH23 |

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You also must file your answer or motion withthe court,
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Date Jan 09, 2020 :

 

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Civil Action No. 8:20-cv-00052-T-35CPT

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